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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA
                          AUGUSTA DIVISION

Valencia Colon,

Plaintiff,
                                                   Civil Action File No.
v.                                               1:21-cv-00149-JRH-BKE

Richard Roundtree, et al.,

Defendant.

                   Request for Extension of Time to Respond

       Plaintiff’s Counsel, J. Wickliffe Cauthorn, has had a family emergency and

needs to travel out of state to South Carolina immediately.

       Pursuant to Local Rule 6.1 Plaintiff requests an extension of time to respond

to Defendants’ Motion for Partial Summary Judgment until Tuesday, July 12, 2022.

Dated: July 8, 2022.

                                          THE CAUTHORN FIRM

                                          /s/J. Wickliffe Cauthorn
                                          J. Wickliffe Cauthorn
                                          Georgia Bar No. 907911
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      Case 1:21-cv-00149-JRH-BKE Document 24 Filed 07/08/22 Page 2 of 2




                               Certificate of Service

      The undersigned certifies a copy of the foregoing was served upon counsel

of record via this Court's electronic case filing (ECF) system. Attorneys of record

are

Tameka Haynes
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      This 8th day of July, 2022.

                                          THE CAUTHORN FIRM

                                          /s/J. Wickliffe Cauthorn
                                          J. Wickliffe Cauthorn
                                          Georgia Bar No. 907911




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